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                                 UNITED STATES DISTRICT COURT
                                    FOR THE SOUTHERN DISTRICT
                                                    OF OHIO
----------------------------------------------------------------x
PAM LIPPY                                                       :
on behalf of herself and all others similarly situated :
                                                                :
                  Plaintiff,                                    : 2:08-cv-1204
                                                                :
-against-                                                       :
                                                                :
VERIZON WIRELESS; AT&T INC.;                                    : JURY TRIAL DEMANDED
SPRINT-NEXTEL CORP.; AND T-MOBILE USA :
                                                                :
                  Defendants.                                   :
----------------------------------------------------------------x

                                CLASS ACTION COMPLAINT

        Plaintiff brings this antitrust action on behalf of a class of persons or entities who

purchased text messaging services from Verizon Wireless, AT&T, Inc., Sprint-Nextel Corp. or

T-Mobile USA (“Defendants”) at any time from January 1, 2005 to the present (the “Class

Period”). Plaintiff Pam Lippy, on behalf of herself and all others similarly situated, for her

complaint against Defendants, upon knowledge as to herself and her own acts, and upon

information and belief as to all other matters, alleges the following:

                                  NATURE OF THE ACTION

        1.     Defendants contracted, combined, conspired and agreed to fix, maintain and inflate

the price of text messaging services and associated fees within the United States in an unlawful

restraint of trade.

        2.     Defendants are the four largest wireless telecommunications companies in the

United States servicing more than 224.5 million subscribers and controlling more than 90 percent

of the United States cellular phone market.
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       3.    Text messaging—also referred to as SMS (Short Message Service)—allows digital

mobile phone subscribers to send and receive short messages of 160 characters or less. Text

messaging is available on most digital mobile phones and is the most pervasive use of data on

mobile phones.

       4.    During the Class Period, the price of text messaging doubled despite the costs

associated with delivering text messages not doubling. However, text messaging costs remained

constant or even may have actually decreased during the Class Period.

       5.    Since 2005, each Defendant has increased the price of text messages twice—from

10¢ to 15¢ and then again from 15¢ to 20¢—at approximately the same time. See chart in ¶32

below detailing the timing of Defendants’ parallel price increases while costs remained the same

or may have actually decreased.

       6.    The volume of text messages in the United States is vast and has increased

drastically in recent years from approximately 81 billion text messages sent or received in 2005

to approximately 383 billion text messages sent or received in 2007.

See http://ctia.org/advocacy/research/index.cfm/AID/10323

       7.    As a direct result of Defendants’ aforesaid contract, combination, conspiracy and

agreement, Plaintiff and Class members have paid supra-competitive prices for text messaging

services and associated fees that were higher than they would have paid in the absence of

Defendants’ unlawful agreement in restraint of trade.

       8.    Therefore, Plaintiff and the members of the Class were damaged in their property,

including by the difference between what they would have paid in a competitive market for

Defendants’ services and what they did pay due to such unlawful agreement.        Given       the

longstanding nature of Defendants’ violation, the structure of the industry, and the likelihood of



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continued violation, equitable relief enjoining further violative conduct is appropriate and

necessary.

                                 JURISDICTION & VENUE

       9.    Plaintiff and Class members bring this suit pursuant to Sections 4 and 16 of the

Clayton Act (15 U.S.C. §§15 and 26), to recover treble damages and costs of suit, including

reasonable attorneys’ fees, against Defendants for the injuries sustained by Plaintiff and the

members of the Class by reason of the violations of Section 1 of the Sherman Act (15 U.S.C. §1)

as alleged herein.   In addition, this action is instituted to secure injunctive relief against

Defendants to prevent them from further violating Section 1 of the Sherman Act as alleged in

this complaint.

       10.   Subject matter jurisdiction is conferred upon this Court by 28 U.S.C. §1331 and

§1337, and by Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§15 and 26.

       11.   Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

Act, 15 U.S.C. §§15, 22 and 26, and 28 U.S.C. §1391(b), (c), and (d). Defendants maintain

offices, have agents, transact business, or are found within this District. Plaintiff’s claims

alleged in this complaint arise in part within this District. The interstate trade and commerce

described herein is and has been carried out in part within this District. Defendants have sent

products in the stream of commerce that have reached this District.

                          INTERSTATE TRADE & COMMERCE

       12.   Beginning at least as early as January 1, 2005, and continuing until the present (the

exact dates unknown to Plaintiff at this time) Defendants engaged in a continuing contract,

conspiracy, combination or agreement in restraint of trade in violation of the Sherman Act.




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          13.     During the Class Period alleged herein, Defendants provided billions of dollars of

text messaging services to millions of subscribers in a continuous and uninterrupted flow in

interstate commerce to customers located throughout the United States, including this District.

          14.     The Defendants’ business activities that are the subject of this action were within

the flow of and substantially affected interstate trade and commerce. During the Class Period

alleged herein, Defendants’ conduct occurred in, affected, and foreseeably restrained the

interstate commerce of the United States.

                                               PARTIES

Plaintiff

          15.     Plaintiff Pam Lippy is an individual residing in New Albany, Franklin County,

Ohio. Plaintiff purchased text messaging services directly from one or more of the named

Defendants and has been injured as a result of the antitrust violations alleged herein.

Defendants

          16.     Defendant Verizon Wireless is a joint venture of Verizon Communications (55%)

and Vodafone Group (45%) with its principal place of business located in Basking Ridge, New

Jersey.         Defendant Verizon Wireless owns and operates the second largest wireless

telecommunications network in the United States with approximately 69 million U.S.

subscribers. Based on revenue, Verizon Wireless is the largest American wireless company and

largest wireless data provider with annual revenue of approximately $44 billion in 2007.

Throughout the Class Period, Defendant Verizon Wireless sold text messaging services

throughout the United States, including this District.         On or about June 5, 2008, Verizon

Wireless announced it will acquire rural provider Alltel Wireless in a deal valued at




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approximately $28.1 billion.1 With this merger, Verizon Wireless estimates that it will have

approximately 80 million wireless subscribers.

          17.    Defendant AT&T Inc. is a publicly traded corporation (NYSE: T) organized under

the laws of the State of Delaware with its principal place of business located in Dallas, Texas.

Defendant AT&T Inc. is the largest provider of wireless service in the United States with

approximately 72 million subscribers.              Defendant AT&T Inc.’s revenue in 2007 was

approximately $119 billion. Throughout the Class Period, Defendant AT&T Inc. sold text

messaging services throughout the United States, including this District.

          18.    Defendant Sprint-Nextel Corporation is a publicly traded corporation (NYSE: S)

organized under the laws of the State of Kansas with its principal place of business located in

Overland Park, Kansas.          Defendant Sprint-Nextel Corporation owns and operates the third

largest wireless telecommunications network in the United States with approximately 52 million

subscribers.      Throughout the Class Period, Defendant Sprint-Nextel Corporation sold text

messaging services throughout the United States, including this District.

          19.    Defendant T-Mobile USA the United States based subsidiary of T-Mobile

International AG, based in Germany. Defendant T-Mobile USA’s principal place of business is

located in Bellevue, Washington. Defendant T-Mobile USA is the fourth largest wireless carrier

in the United States with approximately 31.5 million subscribers. Throughout the Class Period,

Defendant T-Mobile USA sold text messaging services throughout the United States, including

this District.




1
    http://www.nytimes.com/2008/06/06/technology/06phone.html


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                                   CLASS ALLEGATIONS

       20.   Plaintiff brings this action on behalf of herself, and all others similarly situated,

pursuant to Rules 23(a), 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure on behalf

of the following Class:

       All persons and/or entities who directly purchased text messaging services in the
       United States from any of the Defendants or any subsidiary or affiliate thereof at
       any time during the period from January 1, 2005 to the present (the “Class”).
       Defendants, their subsidiaries and affiliates, any co-conspirators and
       governmental entities are specifically excluded from the Class.

       21.   The Class is so numerous that joinder of all members is impracticable. Due to the

nature of the trade and commerce involved, the members of the Class are geographically

dispersed throughout the United States. While the exact number of Class members is in the sole

possession, custody, and control of Defendants, Plaintiff believes that there are millions of Class

members.

       22.   Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               a.     whether Defendants engaged in a contract, conspiracy or combination to
                      raise, fix, stabilize, or maintain the prices of text messaging services in the
                      United States;

               b.     whether the alleged contract, conspiracy or combination violated Section 1
                      of the Sherman Act;

               c.     the duration and extent of the contract, conspiracy or combination alleged
                      herein;

               d.     whether the Defendants and their co-conspirators took affirmative steps to
                      conceal the contract, conspiracy or combination;

               e.     whether each of the Defendants was a participant in the contract,
                      conspiracy or combination alleged herein;



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               f.      whether the Defendants’ conduct caused the prices of text messaging
                       services to be set at an artificially high and non-competitive level;

               g.      the effect of Defendants’ contract, conspiracy or combination upon
                       interstate commerce;

               h.      the appropriate measure of damages; and

               i.      whether Plaintiffs and Class members are entitled to declaratory and/or
                       injunctive relief.

       23.    Plaintiff’s claims are typical of the claims of the other members of the Class she

seeks to represent because Plaintiff and all Class members are all direct purchasers of text

messaging services who paid artificially inflated prices for such services due to Defendants’

contract, conspiracy or combination alleged herein.

       24.    Plaintiff will fully and adequately protect the interests of all members of the Class.

Plaintiff has retained counsel experienced in complex class action and antitrust litigation.

Plaintiff has no interests which are adverse to or in conflict with other members of the Class.

       25.    The questions of law and fact common to the members of the Class predominate

over any questions which may affect only individual members.

       26.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy since joinder of all class members is impracticable.             The

prosecution of separate actions by individual members of the Class would impose heavy burdens

upon the courts, and would create a risk of inconsistent or varying adjudications of the questions

of law and fact common to the Class.         A class action, on the other hand, would achieve

substantial economies of time, effort, and expense, and would assure uniformity of decision with

respect to persons similarly situated without sacrificing procedural fairness or bringing about

other undesirable results.




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          27.   The interest of members of the Class in individually controlling the prosecution of

separate actions is theoretical rather than practical. The Class has a high degree of cohesion, and

prosecution of the action through representatives would be unobjectionable.           The damages

suffered by the individual Class members may be relatively small; and therefore, the expense and

burden of individual litigation make it virtually impossible for them to redress the wrongs done

to them. Plaintiff anticipates no difficulty in the management of this action as a class action.

                               FRAUDULENT CONCEALMENT

          28.   The running of any statutes of limitations has been suspended with respect to any

claims which the Plaintiff and other members of the Class have sustained as a result of the

unlawful combination and conspiracy alleged herein and with respect to their rights to injunctive

relief by virtue of the federal doctrine of fraudulent concealment. Defendants, through various

devices and techniques of secrecy, affirmatively and fraudulently concealed the existence of the

unlawful combination and conspiracy alleged herein.

          29.   As a result of the active concealment of the conspiracy by Defendants and their co-

conspirators, any and all applicable statues of limitations otherwise applicable to the allegations

herein have been tolled.

                                   FACTUAL ALLEGATIONS

          30.   Defendants provide cellular phone service—which in most cases also includes text

messaging service—to more than 90 percent of the United States cellular phone market.

          31.   In 2007, more than 383 billion text messages were sent or received in the United

States.




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       32.    During the Class Period, each Defendant made the exact same two price increases

(i.e., from 10¢ to 15¢ and then from 15¢ to 20¢) at approximately the same time while the cost of

providing text messaging services remained constant or may have actually been decreasing.

          Defendant                    Price Increase From                Price Increase From
                                            10¢ to 15¢                         15¢ to 20¢
Sprint-Nextel Corp.               4th Q 2006                         4th Q 2007
AT&T Inc.                         1st Q 2007                         1st Q 2008
Verizon Wireless                  1st Q 2007                         1st Q 2008
T-Mobile USA                      1st Q 2007                         3rd Q 2008


United States Senate Inquiry

       33.    On or about September 9, 2008 United States Senator Herb Kohl (WI)—chairman

of the U.S. Senate’s antitrust panel—sent letters to Chief Executive Officers at each Defendant

as part of an inquiry into the sharp rise in prices of text messaging services.

See http://kohl.senate.gov/~kohl/press/08/09/2008909B29.html

       34.    In Senator Kohl’s letter, he noted, inter alia:

               a.      “…these increased [text messaging] rates do not appear to be justified by
                       any increases in the costs associated with text messaging services…”

               b.      “Since 2005, the cost for a consumer to send or receive a text message
                       over each of your services has increased by 100%. Text messages were
                       commonly priced at 10 cents per message sent or received in 2005. As of
                       the end of the month, the rate per text message will have increased to 20
                       cents on all four wireless carriers. Sprint was the first carrier to increase
                       the text message rate to 20 cents last Fall, and now all of its three main
                       competitors have matched this price increase.”

               c.      “What is particularly alarming about this industry-wide rate increase is
                       that it does not appear to be justified by rising costs in delivering text
                       messages.”

               d.      “Also of concern is that it appears that each of companies has changed
                       the price for text messaging at nearly the same time, with identical price
                       increases. This conduct is hardly consistent with the vigorous price
                       competition we hope to see in a competitive marketplace.” [emphasis
                       supplied.]

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                                              COUNT I

                PER SE VIOLATION OF SECTION 1 OF THE SHERMAN ACT

          35.   Plaintiff re-alleges and incorporates by reference all of the allegations of this

complaint with the same force and affect as if fully restated herein.

          36.   As more fully set forth above, beginning at least as early as January 1, 2005 (the

exact dates being unknown to Plaintiff) Defendants contracted, combined, conspired and agreed

to fix, maintain and inflate the price of text messaging services in unreasonable restraint of trade

and commerce resulting in a per se violation of Section 1 of the Sherman Act.

          37.   As a direct result of Defendants’ contract, combination, conspiracy, or agreement,

Plaintiff and the members of the Class have paid supra-competitive prices for text messaging

services during the Class Period and have thereby been damaged in their property.

                                       DEMAND FOR JURY


          38.   Pursuant to Federal Rule of Civil Procedure 38(b) and otherwise, Plaintiff

respectfully demands a trial by jury for all issues so triable.

                                      PRAYER FOR RELIEF


          WHEREFORE, Plaintiff prays for judgment against Defendants and for the following

relief:


          A.     That the Court declare, adjudge and decree that the Sherman Act claim alleged
                 herein may be maintained as a class action pursuant to Rule 23 of the Federal
                 Rules of Civil Procedure on behalf of the Class defined herein;
          B.     That the Court declare, adjudge and decree that Defendants have committed the
                 violations alleged herein, including a finding that Defendants’ conduct herein
                 constitutes a per se violation §1 of the Sherman Act and be enjoined and
                 restrained from continuing the same;
          C.     That this Court declare that the Plaintiff and the members of the Class suffered
                 damages as a proximate result of Defendants’ conduct;

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      D.     That this Court enter judgment in favor of the Plaintiff and the Class, jointly and
             severally, and against the Defendants in an amount to be trebled in accordance
             with antitrust law;
      E.     That Plaintiff and the Class be awarded the cost of the suit, including reasonable
             attorney's fees, and pre and post judgment interest; and
      F.     That Plaintiff and the Class be granted injunctive relief against Defendants’
             violative conduct and such other and further equitable or other relief as the Court
             may deem just and proper.


Dated: December 20, 2008


                                                  _/s/Edward F. Siegel_________
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